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             EXHIBIT 1
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                      for the
                                                           Northern District of California


EPIC GAMES, INC. v. APPLE INC.                                             )        Civil Action Nos. 4:20-CV-05640-YGR
CAMERON ET AL v. APPLE INC.                                                )                          4:19-CV-03074-YGR
IN RE APPLE IPHONE ANTITRUST LITIGATION                                    )                          4:11-CV-06714-YGR
                                                                           )
                                                                           )
                                                                           )
                       SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                         OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION
 To:                                                  Valve Corporation
                              (c/o Corpserve, Inc. 1001 4th Ave, Suite 4500, Seattle, WA 98154)
                                                       (Name of person to whom this subpoena is directed)

     Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material:
          See Schedule A


  Place: McDermott Will & Emery LLP                                                     Date and Time:
         2049 Century Park East                                                         December 23, 2020, 5:00 PM PT
         Suite 3200
         Los Angeles, CA 90067-3206

           Or as otherwise agreed.


     Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or other
property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party may
inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

  Place:                                                                                Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.
Date: December 9, 2020

                                  CLERK OF COURT
                                                                                           OR
                                                                                                          /s/ Michelle Lowery
                                          Signature of Clerk or Deputy Clerk                                          Attorney’s signature
                                                                                                          Michelle Lowery
The name, address, e-mail address, and telephone number of the attorney representing (name of party)      Apple Inc.
                                                                         , who issues or requests this subpoena, are:
Michelle Lowery, 2049 Century Park East, Suite 3200, Los Angeles, CA 90067-3206, mslowery@mwe.com, (310) 551-9309
                                                                                                                                   American LegalNet, Inc.
                                                                                                                                   www.FormsWorkFlow.com
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action

                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).




                                                                                                                                   American LegalNet, Inc.
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)


Civil Action Nos. 4:11-CV-06714-YGR, 4:19-CV-03074-YGR, 4:20-CV-05640-YGR

                                                      PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)

          I served the subpoena by delivering a copy to the named person as follows:


                                                                                            on (date)                                  on (date)

         I returned the subpoena unexecuted because:


            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
          $

My fees are $                                 My fees are $                                      My fees are $


          I declare under penalty of perjury that this information is true.


Date:                                                         Date:
                                                                                                     Server’s signature



                                                                                                   Printed name and title




                                                                                                        Server’s address

Additional information regarding attempted service, etc.:




                                                                                                                                     American LegalNet, Inc.
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                               (ii) disclosing an unretained expert’s opinion or information that does
                                                                                  not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a               study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                    (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or              described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                        modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly       conditions if the serving party:
transacts business in person, if the person                                            (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                     otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial              (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                  (e) Duties in Responding to a Subpoena.
  (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or               (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is       procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                          information:
   (B) inspection of premises at the premises to be inspected.                       (A) Documents. A person responding to a subpoena to produce documents
                                                                                  must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                       must organize and label them to correspond to the categories in the demand.
                                                                                     (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney             If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps         information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the              which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must               (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include            person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who           information in more than one form.
fails to comply.                                                                     (D) Inaccessible Electronically Stored Information. The person
                                                                                  responding need not provide discovery of electronically stored information
  (2) Command to Produce Materials or Permit Inspection.                          from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                     of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to           order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of      reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,        made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible            26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or           (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to           (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.       under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for         material must:
compliance or 14 days after the subpoena is served. If an objection is made,          (i) expressly make the claim; and
the following rules apply:                                                            (ii) describe the nature of the withheld documents, communications, or
      (i) At any time, on notice to the commanded person, the serving party       tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an           privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                          (B) Information Produced. If information produced in response to a
      (ii) These acts may be required only as directed in the order, and the      subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from     trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                    that received the information of the claim and the basis for it. After being
                                                                                  notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                            information and any copies it has; must not use or disclose the information
  (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                      information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                              present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits              compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                          produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no     resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                      (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a             The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on         motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                              who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,               subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).




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                                      SCHEDULE A
        Notwithstanding any definition set forth below, each word, term, or phrase used in this

Subpoena is intended to have the broadest meaning permitted under the Federal Rules of Civil

Procedure and the Local Rules of the Northern District of California.

                                         DEFINITIONS

        1.     The following rules of construction shall apply to all discovery requests:

               a. the connectives “and” and “or” shall be construed either disjunctively or

                  conjunctively as necessary to bring within the scope of the discovery request

                  all responses that might otherwise be construed to be outside of its scope;

               b. the use of the present or past tense shall be construed to include both the present

                  and past tenses as necessary to bring within the scope of the discovery request

                  all responses that might otherwise be construed to be outside of its scope;

               c. “any” and “each” shall be construed to include and encompass “all”; and

               d. the use of the singular form of any word includes the plural and vice versa.

        2.     “ADVERTISING” shall mean the in-APP presentation of third-party promotional

content in exchange for payment.

        3.     “ANDROID” shall mean Google’s mobile operating system.

        4.     “APP” shall mean a software application for a HANDHELD DEVICE or NON-

HANDHELD DEVICE. For the avoidance of doubt, the phrase “EPIC APP” shall mean any APP

developed and/or published by EPIC, INCLUDING Fortnite, Battlebreakers, and Spyjinx, as well

as any APP developed and/or published by EPIC (such as the Epic Games App) that facilitates the

download of those or other APPS.

        5.     “APP DEVELOPER” shall mean any PERSON who developed one or more

APPS.

        6.     “APP MARKETPLACE” shall mean any online storefront where APPS are

offered for download and/or purchase. This term shall include, without limitation, Google Play,

the Samsung Galaxy Store, Android Market, DEFENDANT’S iOS and Mac App Stores, the

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Amazon Appstore, Amazon Underground, the Microsoft Store for Xbox, Windows Store, and

Windows Phone Store, the Epic Games Store, Steam, Origin, and online storefronts distributing

games and digital content for Xbox, PlayStation, and Nintendo. For the avoidance of doubt, the

phrase “YOUR APP MARKETPLACE” shall refer to STEAM.

       7.       “COMMUNICATION” shall include, without limitation, any transmission or

transfer of information of any kind, whether orally, electronically, in writing, or in any other

manner, at any time or place, and under any circumstances whatsoever.

       8.      “CONCERNING” a given subject shall mean: directly or indirectly comprising,

concerning, constituting, containing, discussing, embodying, evidencing, exhibiting, identifying,

mentioning, negating, pertaining to, recording, regarding, reflecting, relating to, showing, or

supporting a given subject matter.

       9.      “DEFENDANT” shall mean Apple Inc.

       10.     “DEVICE” shall mean any HANDHELD DEVICE or NON-HANDHELD

DEVICE.

       11.     “DOCUMENT” and “DOCUMENTS” shall have the full meaning ascribed to

those terms under Rule 34 of the Federal Rules of Civil Procedure and shall include, without

limitation, any and all drafts; COMMUNICATIONS; memoranda; records; REPORTS; books;

records, REPORTS, and/or summaries of personal conversations or interviews; diaries;

presentations; slide decks; graphs; charts; spreadsheets; diagrams; tables; photographs; recordings;

tapes; microfilms; minutes; records, REPORTS, and/or summaries of meetings or conferences;

press releases; blog posts; stenographic handwritten or any other notes; work papers; checks, front

and back; check vouchers, check stubs, or receipts; tape data sheets or data processing cards or

discs or any other written, recorded, transcribed, punched, taped, filmed, or graphic matter,

however produced or reproduced; and any paper or writing of whatever description, INCLUDING

information contained in any computer although not yet printed out. Any production of

electronically stored information shall include the information needed to understand such



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information. The term “DOCUMENT” or “DOCUMENTS” further includes all copies where the

copy is not identical to the original.

        12.     “EPIC” shall mean Epic Games, Inc., its officers, directors, employees,

representatives, consultants, agents, servants, attorneys, accountants, or any other person or entity

acting on its behalf, or any PERSON or entity that served in any such role at any time, as well as

its predecessors, successors, subsidiaries, departments, divisions, joint ventures, and/or affiliates,

(including but not limited to Epic Games International S.à r.l and Life on Air, Inc.), and any

PERSON that Epic Games, Inc., manages or controls.

        13.     “EXTERNAL PRODUCTS” shall mean digital products and services purchased

outside of an APP (such as through an APP DEVELOPER’s website) that one may use within an

APP.

        14.     “GAME KEY” shall mean any product code that can be redeemed for an APP

through STEAM.

        15.     “HANDHELD DEVICE” shall mean any smartphone, tablet, or portable MP3

music player.

        16.     “INCLUDING” shall not be construed as limiting any request, and shall mean the

same as “including, but not limited to.”

        17.     “IN-APP PRODUCT” shall mean any feature, service, or functionality that can be

enabled or unlocked within an APP in exchange for a fee, INCLUDING subscriptions, in-game

currencies, game levels, access to premium content, or unlocking a full version of an APP.

        18.     “MALWARE” shall mean APPS and other software that could put users, user

data, or devices at risk, INCLUDING computer viruses, worms, trojans, ransomware, scareware,

spyware, phishing apps, backdoors, hostile downloaders, mobile billing fraud apps (including

SMS fraud, call fraud, and toll fraud), and click fraud apps.

        19.     “NAMED CONSUMER PLAINTIFF” shall mean a named plaintiff in Pepper v.

Apple Inc., Case No. 4:11-cv-06714-YGR (N.D. Cal.), and Lawrence v. Apple Inc., Case No. 4:19-

cv-02852-YGR (N.D. Cal.), INCLUDING:

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               a. Edward W. Hayter, of Brooklyn, NY;

               b. Edward Lawrence, of California;

               c. Robert Pepper, of Chicago, IL; and

               d. Stephen H. Schwartz, of Ardsley, NY.

       20.     “NAMED DEVELOPER PLAINTIFF” shall mean a named plaintiff in Cameron

v. Apple Inc., Case No. 419-cv-03074-YGR (N.D. Cal.), and Sermons v. Apple Inc., Case No. 4:19-

cv-03796-YGR (N.D. Cal.), INCLUDING:

               a. Donald R. Cameron, of California;

               b. Barry Sermons, of Georgia; and

               c. Pure Sweat Basketball, Inc., an Illinois corporation.

       21.     “NON-HANDHELD DEVICE” shall mean laptop computers, desktop computers,

or video game consoles.

       22.     “PERSON” shall include, without limitation, natural persons, corporations,

partnerships, business trusts, associations, and business or other entities, and any officer, director,

employee, partner, corporate parent, subsidiary, affiliate, agent, representative, attorney, or

principal thereof.

       23.     “REPORTS” shall mean any final reports, research, papers, memoranda,

presentations, reviews, statistical compilations, or other analyses.

       24.     “REVIEW” and “REVIEWING” shall mean, with respect to APPS, any process

of screening, evaluating, analyzing, approving, or monitoring APPS, regardless of whether such

process takes place before or after the publication of APPS in an APP MARKETPLACE or before

or after the installation of APPS onto a HANDHELD DEVICE or NON-HANDHELD DEVICE.

       25.     “STEAM” shall mean any APP MARKETPLACE operated by YOU available on

DEVICES.

       26.     “STEAM LINK” shall mean YOUR APP for any DEVICE.

       27.     “STEAMOS” shall mean any operating system offered by YOU for any DEVICE.

       28.     “THE” shall not be construed as limiting the scope of any topic.

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          29.   “YOU” or “YOUR” shall refer to Valve Corporation or any of its predecessor or

successor companies,        subsidiaries (INCLUDING Turtle Rock Studios, Campo Santo,

Impulsonic, Inc., Star Filled Studios Inc., Campo Santo Productions LLC), corporate affiliates,

officers, directors, employees, representatives, consultants, agents, servants, attorneys,

accountants, and any other PERSON or entity acting on its behalf, or any PERSON or entity that

served in any such role at any time.

                                       INSTRUCTIONS

          1.    All DOCUMENTS requested herein must be produced in their entirety, with all

attachments and enclosures, regardless of whether YOU consider the attachments and enclosures

to be relevant or responsive to the Request.

          2.    In responding to these Requests, YOU shall produce all DOCUMENTS and

information in YOUR possession, custody, or control, and all DOCUMENTS reasonably available

to YOU, INCLUDING those in the possession, custody, or control of YOUR present and former

attorneys, investigators, accountants, agents, representatives, or other PERSONS acting on YOUR

behalf.

          3.    These Requests shall not be deemed to call for identical copies of DOCUMENTS.

“Identical” means precisely the same in all respects; for example, a DOCUMENT with

handwritten notes or editing marks shall not be deemed identical to one without such notes or

marks.

          4.    In the event YOU are able to produce only some of the DOCUMENTS called for

in a particular Request, YOU shall produce all the DOCUMENTS available and state the reason(s)

for YOUR inability to produce the remainder.

          5.    If there are no DOCUMENTS responsive to a category in these Requests, YOU

shall so state in writing. If a DOCUMENT requested is no longer existing or available, YOU shall

so state in writing.

          6.    If YOU object to a portion of any Request, YOU shall produce all DOCUMENTS

called for by that portion of the Request to which YOU do not object.

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       7.      In producing DOCUMENTS responsive to these requests, YOU must Bates stamp

them in a manner that clearly identifies the party that is producing each such DOCUMENT, and

in whose possession the DOCUMENT was found.

       8.      If any requested DOCUMENT is withheld on the basis of any claim of privilege,

YOU must set forth the information necessary for DEFENDANT to ascertain whether the privilege

properly applies, INCLUDING describing the DOCUMENT withheld, stating the privilege being

relied upon, identifying all PERSONS (by name) who have had access to such DOCUMENT

(INCLUDING all the identity(ies) of the author(s) or maker(s), recipient(s), carbon copy

recipient(s), blind carbon copy recipient(s)), the number of attachments (if any), the Bates or

production number of any attachments not withheld on the basis of privilege, the applicable

date(s), and the subject matter(s) in a privilege log.

       9.      If any portion of any DOCUMENT responsive to these Requests is withheld under

claim of privilege, all non-privileged portions must be produced with the portion(s) claimed to be

privileged redacted and logged in a privilege log pursuant to the preceding instructions.

       10.     If YOU cannot answer all parts of a Request, but can answer some parts, YOU must

answer those parts to which YOU can reply, and specify “unknown,” or some other response, as

appropriate, for any part to which YOU cannot reply.

       11.     Unless otherwise stated, the time period for which the Requests seek

DOCUMENTS is 2008 to the present.

       12.     References to any natural PERSON shall include, in addition to the natural

PERSON, any agent, employee, representative, attorney, superior, or principal thereof.

       13.     Specified date ranges are inclusive. Unless otherwise stated, a year includes all days

of that year from January 1 to December 31.

       14.     These Requests are to be regarded as continuing pursuant to Rule 26(e) of the

Federal Rules of Civil Procedure. YOU are required to provide, by way of supplementary

responses hereto, such additional information as may be obtained by YOU or any PERSON acting

on YOUR behalf that will augment or modify YOUR answers initially given to the following

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Requests. Pursuant to Rule 26(e) of the Federal Rules of Civil Procedure, YOU are required to

supplement these responses and provide additional DOCUMENTS without a specific request from

DEFENDANT.

       15.    DEFENDANT serves these Requests without prejudice to its right to serve

additional requests for production of DOCUMENTS.

                            REQUESTS FOR PRODUCTION

REQUEST FOR PRODUCTION NO. 1:

       REPORTS comparing the distribution of APPS through any APP MARKETPLACE,

INCLUDING Google Play, the Samsung Galaxy Store, Android Market, DEFENDANT’S iOS

and Mac App Stores, the Amazon Appstore, Amazon Underground, the Microsoft Store for Xbox,

Windows Store, and Windows Phone Store, the Epic Games Store, Origin, and online storefronts

distributing games and digital content for Xbox, PlayStation, and Nintendo, and YOUR APP

MARKETPLACE(S), INCLUDING:

       a.     the past or present benefits or costs of distribution in each APP MARKETPLACE;

       b.     past or present fees and commission rates charged by each APP MARKETPLACE,

INCLUDING how such fees and commission rates affect the attractiveness of any APP

MARKETPLACE to APP DEVELOPERS;

       c.     past or present security or privacy protections offered in each APP

MARKETPLACE;

       d.     past or present APP REVIEW and approval procedures and practices in each APP

MARKETPLACE;

       e.     past or present tools for APP DEVELOPERS in each APP MARKETPLACE;

       f.     past or present relative ease or difficulty of updating APPS in each APP

MARKETPLACE;

       g.     past or present market share calculations or estimates for APP MARKETPLACES,

INCLUDING the definitions used to perform those calculations;


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       h.      past or present decision to distribute YOUR APPS on a particular APP

MARKETPLACE;

       i.      contemplated, planned, or actual distribution of YOUR APPS directly (i.e., not

through an APP MARKETPLACE); and

       j.      past or present APP maintenance activities in each APP MARKETPLACE.

REQUEST FOR PRODUCTION NO. 2:

       DOCUMENTS sufficient to show with respect to YOUR APP MARKETPLACE(S):

       a.      the total yearly amount remitted to YOU from sales of APPS and IN-APP

PRODUCTS (by APP and method of monetization, if available);

       b.      any estimates of or accounting for annual ADVERTISING revenue attributable to

YOUR APP MARKETPLACE (by APP, if available);

       c.      any estimates of or accounting for YOUR annual revenues from sales of

EXTERNAL PRODUCTS attributable to YOUR APP MARKETPLACE (by APP and method of

monetization, if available);

       d.      any estimates of or accounting for annual revenues (other than the foregoing)

attributable to YOUR APP MARKETPLACE (by APP and method of monetization, if available);

and

       e.      any estimates of or accounting for annual earnings, income, or profit (whether gross

or net) attributable to YOUR APP MARKETPLACE (by APP and method of monetization, if

available).

REQUEST FOR PRODUCTION NO. 3:

       REPORTS CONCERNING YOUR contemplated, planned, or actual development and/or

operation of YOUR APP MARKETPLACE(S), INCLUDING:

       a.      YOUR decision to build each such APP MARKETPLACE;

       b.      YOUR decision to use a particular revenue model in each such APP

MARKETPLACE; and



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       c.     YOUR decision to develop each such APP MARKETPLACE for specific operating

systems.

REQUEST FOR PRODUCTION NO. 4:

       REPORTS CONCERNING comparisons of the number, identity, genre, quality, and/or

popularity of APPS available for download from YOUR APP MARKETPLACE(S) and APPS

available for download from other APP MARKETPLACE(S) or available on different DEVICES.

REQUEST FOR PRODUCTION NO. 5:

       REPORTS sufficient to show the percentage of APPS purchased directly from YOUR APP

MARKETPLACE(S) versus the percentage of APPS purchased from third parties, INCLUDING

from GAME KEYS.
REQUEST FOR PRODUCTION NO. 6:

       DOCUMENTS CONCERNING STEAMOS INCLUDING the development of

STEAMOS, COMMUNICATIONS about and with DEVICE manufacturers CONCERNING

STEAMOS, and REPORTS sufficient to show STEAMOS utilization.

REQUEST FOR PRODUCTION NO. 7:

       DOCUMENTS and COMMUNICATIONS CONCERNING the availability and usage of

YOUR APP MARKETPLACE(S), INCLUDING STEAM, and YOUR APP(S), INCLUDING

STEAM LINK, on DEFENDANT’S iOS operating system, DEFENDANT’S DEVICES, and

DEFENDANT’S          APP        MARKETPLACE,            INCLUDING          DOCUMENTS              and

COMMUNICATIONS CONCERNING the publication of STEAM LINK on DEFENDANT’S

APP   MARKETPLACE          as   summarized     in   a   June   4,   2018   article,   available    at

https://www.reuters.com/article/us-apple-steam/apple-issues-new-app-store-rules-aimed-at-

streaming-pc-based-games-idUSKCN1J034K.

REQUEST FOR PRODUCTION NO. 8:

       DOCUMENTS         and    COMMUNICATIONS            CONCERNING          the     development,

distribution, and utilization of YOUR APP(S), INCLUDING STEAM LINK, and REPORTS

sufficient to show any tendency for consumers to download YOUR APP(S) on any DEVICES.

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REQUEST FOR PRODUCTION NO. 9:

         COMMUNICATIONS CONCERNING whether consumers are willing to purchase a

DEVICE with a different operating system or from a different DEVICE manufacturer than they

already own and any switching costs they many consider, INCLUDING the value of any APPS

previously purchased that the consumer cannot operate on the new DEVICE.

REQUEST FOR PRODUCTION NO. 10:

         DOCUMENTS sufficient to show any efforts undertaken by YOU to attract or incentivize

APP DEVELOPERS to develop APPS for distribution to YOUR APP MARKETPLACE.
REQUEST FOR PRODUCTION NO. 11:

         DOCUMENTS created by YOU CONCERNING competition between or among APP

MARKETPLACES, INCLUDING any DOCUMENTS describing competition regarding

STEAM, YOUR strategy related to actual or potential competitors to STEAM, and YOUR

assessment of the market share for STEAM, INCLUDING any analysis performed of any actual

or potential competitor to STEAM, such as analysis of any actual or potential competitor’s market

share, APP pricing, commissions, product design, product functionality, APP promotion, privacy

or security policies, and/or APP REVIEW policies or procedures.

REQUEST FOR PRODUCTION NO. 12:

         DOCUMENTS and COMMUNICATIONS CONCERNING any security breaches or

privacy concerns relating to YOUR APP MARKETPLACE(S), INCLUDING those reported in an

November 11, 2011 BBC News article, available at https://www.bbc.com/news/technology-

15690187,        an      May        31,      2018       Vice           article     available   at,

https://www.vice.com/en/article/9k8qv5/steam-exploit-left-users-vulnerable-for-10-years, and an

August           9,         2019           Forbes           article,             available     at

https://www.forbes.com/sites/daveywinder/2019/08/09/critical-steam-security-warning-issued-

for-72-million-windows-10-gamers/?sh=56130b6e35e1.




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REQUEST FOR PRODUCTION NO. 13:

       DOCUMENTS sufficient to show YOUR agreements or contracts with APP

DEVELOPERS, INCLUDING any agreements or contracts with EPIC, effective during the period

that YOU have operated any APP MARKETPLACE, INCLUDING any contracts, guidelines, or

rules setting forth the terms and conditions under which APP DEVELOPERS may distribute APPS

through YOUR APP MARKETPLACE(S).

REQUEST FOR PRODUCTION NO. 14:

       DOCUMENTS sufficient to show any annual fee(s) or registration fee(s) paid by APP

DEVELOPERS in order to develop and publish APPS in YOUR APP MARKETPLACE(S).
REQUEST FOR PRODUCTION NO. 15:

       DOCUMENTS sufficient to show any commissions and/or transaction fees charged by

YOU when a user makes a purchase from YOUR APP MARKETPLACE(S) or from an APP

downloaded from the same, INCLUDING:

       a.     any commissions and/or transaction fees charged on the sale of APPS or IN-APP

PRODUCTS and any exemptions from or limitations on such commissions or fees; and

       b.     the impact on any commission rates and/or transaction fees charged by YOU when

a user makes a purchase through the use of any discount, virtual currency, or particular payment

method, INCLUDING any particular credit card.

REQUEST FOR PRODUCTION NO. 16:

       REPORTS CONCERNING YOUR decision to change any commission rates on APPS or

IN-APP PRODUCTS distributed through YOUR APP MARKETPLACE(S).

REQUEST FOR PRODUCTION NO. 17:

       DOCUMENTS sufficient to show any rules or policies CONCERNING the price at which

APPS or IN-APP PRODUCTS may be offered for sale in YOUR APP MARKETPLACE(S),

INCLUDING:

       a.     any requirements that prices end in a specific number (e.g., “.99”);



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       b.      any variations in pricing based on the use of payment methods by consumers

(e.g., discounts); and

       c.      any requirements that prices for APPS in YOUR APP MARKETPLACE(S)

be linked to prices charged for the same APPS in other APP MARKETPLACES other than

YOURS (e.g., “most favored nation” requirements).

REQUEST FOR PRODUCTION NO. 18:

       All DOCUMENTS and REPORTS CONCERNING YOUR decision that “Starting from

October 1, 2018 (i.e. revenues prior to that date are not included), when a game makes over $10

million on Steam, the revenue share for that application will adjust to 75 percent/25 percent on

earnings beyond $10M. At $50 million, the revenue share will adjust to 80 percent/20 percent on

earnings beyond $50M,” as described in a December 18, 2018 blog post, available at,

https://www.vice.com/en/article/vbaxkb/fortnite-is-so-popular-it-could-end-steams-decade-long-

dominance.
REQUEST FOR PRODUCTION NO. 19:

       DOCUMENTS CONCERNING the amount and value of services provided by STEAM to

APP consumers, INCLUDING APP REVIEW, store curation and social networking.

REQUEST FOR PRODUCTION NO. 20:

       DOCUMENTS sufficient to show any marketing, services, assistance, or support YOU

provide for APP DEVELOPERS, INCLUDING APP development tools, application

programming interfaces (“APIs”), programming tools, technical support, opportunities for testing

APPS before they are released to the consumers, marketing, payment processing, refund

processing, and security measures.

REQUEST FOR PRODUCTION NO. 21:

       DOCUMENTS sufficient to show, for each year since 2010, any costs YOU incurred to

process payments for purchases of APPS and IN-APP PRODUCTS in YOUR APP

MARKETPLACE(S).



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REQUEST FOR PRODUCTION NO. 22:

       DOCUMENTS sufficient to show YOUR policies, practices, and/or procedures for

handling and processing payments for the sale of IN-APP PRODUCTS in APPS distributed

through YOUR APP MARKETPLACE, INCLUDING DOCUMENTS sufficient to show whether

YOU require APPS distributed through YOUR APP MARKETPLACE to use a payment and

purchase functionality provided by YOU to facilitate purchases of IN-APP PRODUCTS, and if

so, whether YOU have ever departed from such requirement with respect to EPIC APPS or any

other APP DEVELOPER’S APPS.
REQUEST FOR PRODUCTION NO. 23:

       DOCUMENTS, INCLUDING COMMUNICATIONS with EPIC, CONCERNING

EPIC’s submission of Fortnite for distribution through YOUR APP MARKETPLACE.

REQUEST FOR PRODUCTION NO. 24:

       DOCUMENTS sufficient to show, for STEAM and any other services that offer access to

APPS that YOU offer to U.S. users on any DEVICE:

       a.      the dates during which the service was available to U.S. consumers;

       b.      for each year that the service was available, the number U.S. consumers who

subscribed to or otherwise used it;

       c.      the method(s) used to monetize the service, INCLUDING, but not limited to,

ADVERTISING and subscriptions;

       d.      YOUR decision to monetize the service, INCLUDING why YOU chose the

monetization strategy YOU did, and whether that strategy changed over time; and

       e.      YOUR annual revenues from the service (by type of monetization, if available).

REQUEST FOR PRODUCTION NO. 25:

       DOCUMENTS sufficient to describe YOUR efforts to REVIEW APPS made available

through YOUR APP MARKETPLACE(S) or any other source, INCLUDING:

       a.      guidelines, policies, and/or procedures for REVIEWING APPS;



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       b.      separately by year and operating system, any costs YOU incurred or resources YOU

expended in REVIEWING APPS;

       c.      the efficacy of any such REVIEW of APPS, INCLUDING the number of instances

of MALWARE YOU detected, the number of instances of MALWARE YOUR REVIEW failed

to detect, and consumer and APP DEVELOPER COMMUNICATIONS regarding any such

REVIEW; and

       d.      actual or intended efforts to communicate to users that YOU have REVIEWED

such APPS.
REQUEST FOR PRODUCTION NO. 26:

       DOCUMENTS describing the organizational structure of, and/or listing personnel working

within, any division or unit of YOUR business that is responsible for APP distribution and/or

YOUR APP MARKETPLACE(S) (INCLUDING APP REVIEW), INCLUDING any

organizational charts or employee directories pertaining to such business unit(s) or division(s).

REQUEST FOR PRODUCTION NO. 27:

       DOCUMENTS sufficient to show the following per-user averages for consumers

associated with YOUR APP MARKETPLACE separately for each year since 2010:

       a.      annual spending on APPS and IN-APP PRODUCTS;

       b.      annual amounts received by YOU due to ADVERTISING shown to the user;

       c.      the portion of annual spending that is attributable to credits, discounts, or virtual

currencies, INCLUDING gift cards, promotional codes, or the use of any particular credit card.

REQUEST FOR PRODUCTION NO. 28:

       REPORTS CONCERNING the existence of MALWARE, INCLUDING any efforts to

measure or quantify the number of APPS that contained MALWARE, the number of downloads

of APPS that contained MALWARE and the impact of such MALWARE in:

       a.      APPS offered by YOUR APP MARKETPLACE(S); and

       b.      APPS     offered   by   APP     MARKETPLACES           other   than   YOUR      APP

MARKETPLACE(S).

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REQUEST FOR PRODUCTION NO. 29:

      DOCUMENTS sufficient to show, for each NAMED CONSUMER PLAINTIFF:

      a.    the number of APPS downloaded by the NAMED CONSUMER PLAINTIFF from

YOUR APP MARKETPLACE(S);

      b.    for each APP downloaded by the NAMED CONSUMER PLAINTIFF from YOUR

APP MARKETPLACE(S):

            i.     the identity of the APP;

            ii.    the date of download;

            iii.   the price paid for the download;

            iv.    the date that any IN-APP PRODUCT associated with the APP was

                   purchased and the price paid for the IN-APP PRODUCT;

            v.     whether the APP uses a third party services for ADVERTISING; and

            vi.    to the extent the APP is available for use on a time-of-use basis, the number

                   of minutes of usage of such APP.
REQUEST FOR PRODUCTION NO. 30:

      DOCUMENTS sufficient to show, for each NAMED DEVELOPER PLAINTIFF:

      a.    whether the NAMED DEVELOPER PLAINTIFF has published APPS on YOUR

APP MARKETPLACE(S);

      b.    any identification or account number associated with the NAMED DEVELOPER

PLAINTIFF; and

      c.    for each APP published by the NAMED DEVELOPER PLAINTIFF on YOUR

APP MARKETPLACE(S):

            i.     the name of the APP;

            ii.    the date range during which the APP was available for download on YOUR

                   APP MARKETPLACE(S);

            iii.   the number of times the APP has been downloaded from YOUR APP

                   MARKETPLACE(S) each year;

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           iv.    the price of the APP and any IN-APP PRODUCT associated with the APP

                  on YOUR APP MARKETPLACE(S), INCLUDING any changes to such

                  pricing over time;

           v.     the total amount of money remitted by YOU to the NAMED DEVELOPER

                  PLAINTIFF for purchases of such APP or associated IN-APP

                  PRODUCT(S);

           vi.    whether the APP uses any third party service for ADVERTISING; and

           vii.   to the extent the APP is available for use on a time-of-use basis, the number

                  of minutes of usage of such APP.
REQUEST FOR PRODUCTION NO. 31:

     DOCUMENTS (INCLUDING data) sufficient to show, for each month since 2010:

     a.    whether EPIC has published APPS on YOUR APP MARKETPLACE(S);

     b.    any identification or account number associated with EPIC;

     c.    for each APP published by EPIC on YOUR APP MARKETPLACE(S):

           i.     the name of the APP;

           ii.    the date range during which the APP was available for download on YOUR

                  APP MARKETPLACE(S);

           iii.   the number of times the APP has been downloaded from YOUR APP

                  MARKETPLACE(S) each year;

           iv.    the price of the APP and any IN-APP PRODUCT associated with the APP

                  on YOUR APP MARKETPLACE(S), INCLUDING any changes to such

                  pricing over time;

           v.     the total value in U.S. dollars of IN-APP PRODUCTS sold through EPIC

                  APPS downloaded from YOUR APP MARKETPLACE;

           vi.    the total value in U.S. dollars of EPIC APPS downloaded from YOUR APP

                  MARKETPLACE;

           vii.   the amount that YOU earned in commissions from each download of any

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                      EPIC APP, and the effective commission rate on each such transaction;

              viii.   the amount that YOU earned in commissions from each sale of any IN-APP

                      PRODUCT through EPIC APPS, and the effective commission rate on each

                      such transaction;

              ix.     whether the APP uses any third party service for ADVERTISING; and

              x.      to the extent the APP is available for use on a time-of-use basis, the number

                      of minutes of usage of such APP.

REQUEST FOR PRODUCTION NO. 32:
       DOCUMENTS (INCLUDING data) sufficient to show, for each month since 2010 for each

APP published on YOUR APP MARKETPLACE(S):

       a.     the name of the APP;

       b.     the date range during which the APP was available for download on YOUR APP

MARKETPLACE(S); and

       c.     the price of the APP and any IN-APP PRODUCT associated with the APP on

YOUR APP MARKETPLACE(S), INCLUDING any changes to such pricing over time.

REQUEST FOR PRODUCTION NO. 33:

       DOCUMENTS sufficient to show the name of each APP, INCLUDING Counter-Strike,

Day of Defeat, Dota, Half-Life, Left 4 Dead, Portal, and Team Fortress, that YOU have published

in any APP MARKETPLACE, INCLUDING Google Play, the Samsung Galaxy Store, Android

Market, DEFENDANT’S iOS and Mac App Stores, the Amazon Appstore, Amazon Underground,

the Microsoft Store for Xbox, Windows Store, and Windows Phone Store, the Epic Games Store,

Origin, and other online storefronts distributing games and digital content, and YOUR APP

MARKETPLACE(S), and for each such APP:

       a.     the dates during which the APP was available for download by U.S. consumers

from each APP MARKETPLACE;

       b.     for each year that the APP was available, the number of times that the APP was

downloaded by U.S. consumers from each APP MARKETPLACE;

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       c.      the method(s) used (if any) to monetize the APP, INCLUDING, but not limited to,

whether the APP charges for APP downloads, sells IN-APP PRODUCTS, permits use of

EXTERNAL PRODUCTS, features ADVERTISING, or uses any other method(s) or some

combination of the above;

       d.      YOUR decision to monetize the APP, INCLUDING why YOU chose the

monetization strategy YOU did, and whether that strategy changed over time;

       e.      YOUR annual revenues from APP downloads and IN-APP PRODUCTS

attributable to such distribution (by APP and by type of monetization, if available); and

       f.      the number of minutes of usage of such APP that took place via a time-based APP

MARKETPLACE.
REQUEST FOR PRODUCTION NO. 34:

       DOCUMENTS sufficient to show the name of each APP (if any) that YOU have made

available for direct distribution (i.e., not through an APP MARKETPLACE) to HANDHELD

DEVICE users, and for each such APP:

       a.      the dates during which the APP was available for direct download to such.

consumers;

       b.      for each year that the APP was available, the number of times that the APP was

downloaded by consumers;

       c.      the method(s) used (if any) to monetize the APP, INCLUDING, but not limited to,

whether the APP charges for APP downloads, sells IN-APP PRODUCTS, permits use of

EXTERNAL PRODUCTS, features ADVERTISING, or uses any other method(s) or some

combination of the above;

       d.      YOUR decision to monetize the APP, INCLUDING why YOU chose the revenue

model YOU did, and whether that strategy changed over time; and

       e.      YOUR annual revenues from APP downloads and IN-APP PRODUCTS

attributable to such distribution (by APP and by type of monetization, if available).



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REQUEST FOR PRODUCTION NO. 35:

       DOCUMENTS sufficient to show the name of each APP (if any) that YOU have made

available for direct distribution (i.e., not through an APP MARKETPLACE) to NON-

HANDHELD DEVICE users, and for each such APP:

       a.      the dates during which the APP was available for direct download to such.

consumers;

       b.      for each year that the APP was available, the number of times that the APP was

downloaded by consumers;

       c.      the method(s) used (if any) to monetize the APP, INCLUDING, but not limited to,

whether the APP charges for APP downloads, sells IN-APP PRODUCTS, permits use of

EXTERNAL PRODUCTS, features ADVERTISING, or uses any other method(s) or some

combination of the above;

       d.      YOUR decision to monetize the APP, INCLUDING why YOU chose the revenue

model YOU did, and whether that strategy changed over time; and

       e.      YOUR annual revenues from APP downloads and IN-APP PRODUCTS

attributable to such distribution (by APP and by type of monetization, if available).
REQUEST FOR PRODUCTION NO. 36:

       DOCUMENTS sufficient to describe YOUR decision to prohibit or allow:

             a. “cross-play” (i.e., the extent to which users of an APP can interact with or play

                against other users of the APP while on different DEVICES), for any particular

                APP; and/or

             b. IN-APP PRODUCTS or EXTERNAL PRODUCTS purchased on one DEVICE to

                be applied to the same APP on another DEVICE.

REQUEST FOR PRODUCTION NO. 37:

       For each of YOUR APPS, DOCUMENTS sufficient to show the extent to which game

progress achieved on one DEVICE can be applied to the same game on another DEVICE.



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REQUEST FOR PRODUCTION NO. 38:

       ALL COMMUNICATIONS between YOU and any NAMED CONSUMER PLAINTIFF.

REQUEST FOR PRODUCTION NO. 39:

       ALL COMMUNICATIONS between YOU and any NAMED DEVELOPER PLAINTIFF.

REQUEST FOR PRODUCTION NO. 40:

       ALL COMMUNICATIONS between YOU and any APP DEVELOPER, INCLUDING

EPIC CONCERNING:

       a.     the DEFENDANT’S iOS App Store, INCLUDING any guidelines, policies, and

procedures for the DEFENDANT’S iOS App Store;

       b.     policies, practices, and/or procedures for handling and processing payments for the

sale of IN-APP PRODUCTS; and

       c.     the following ongoing litigation, INCLUDING declarations, anticipated oral

testimony, or documentary evidence relating to the same:

              i.     Pepper v. Apple Inc., Case No. 4:11-cv-06714-YGR (N.D. Cal.);

              ii.    Lawrence v. Apple Inc., Case No. 4:19-cv-02852-YGR (N.D. Cal.);

              iii.   Cameron v. Apple Inc., Case No. 419-cv-03074-YGR (N.D. Cal.);

              iv.    Sermons v. Apple Inc., Case No. 4:19-cv-03796-YGR (N.D. Cal.); and

              v.     Epic Games, Inc. v. Apple Inc., Case No. 4:20-cv-05640-YGR (N.D. Cal.).

REQUEST FOR PRODUCTION NO. 41:

       ALL COMMUNICATIONS between YOU and any DEVICE manufacturer or

telecommunications provider (INCLUDING Verizon Wireless, AT&T Mobility, T-Mobile U.S.,

or Sprint Corporation) CONCERNING:

       a.     the presence or risk of any APPS with MALWARE in any APP MARKETPLACE;

       b.     any APPS rejected, removed, or hidden from any APP MARKETPLACE;

       c.     any APP DEVELOPER for whom YOU have in any way restricted their/its ability

to publish APPS in YOUR APP MARKETPLACE;



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       d.     any discussion or agreement regarding pre-installation of APPS or APP

MARKETPLACES on DEVICES; and

       e.     any relationship between the ability to install or use a given APP MARKETPLACE

on a DEVICE and the attractiveness to consumers of such DEVICE.

REQUEST FOR PRODUCTION NO. 42:

       ALL COMMUNICATIONS or DOCUMENTS exchanged between YOU and any federal,

state, or local governmental entity, either foreign or domestic, INCLUDING any U.S. or state

agency, attorney general’s office, or congressional committee, CONCERNING any APP

MARKETPLACE(S) or the DEFENDANT.
REQUEST FOR PRODUCTION NO. 43:

       Any rulings, judgments, or findings of fact or law made by any federal, state, or local

governmental entity, either foreign or domestic, INCLUDING any U.S. or state agency, attorney

general’s office, or congressional committee, CONCERNING YOUR APP MARKETPLACE(S)

and any allegations or suspicion of any anti-competitive conduct or behavior.




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